ATTEST: A TRUE COPY
CERTIFIED THIS

        5/27/2021
Date: __________________________
                                                                                                  CLOSED
JAMES N. HATTEN, Clerk
                                          U.S. District Court
     s/Traci C. Campbell
By: ____________________________ Northern District of Georgia (Atlanta)
         Deputy Clerk CRIMINAL DOCKET FOR CASE #: 1:21−mj−00533−AJB−1


           Case title: USA v. Panbehchi                             Date Filed: 05/25/2021
           Other court case number: 21−3067−01−CR−S−BCW USDC        Date Terminated: 05/25/2021
                                     WD MO

           Assigned to: Magistrate Judge
           Alan J. Baverman

           Defendant (1)
           David Panbehchi                   represented by Byron Conway
           TERMINATED: 05/25/2021                           Federal Defender Program, Inc.
                                                            Trial
                                                            101 Marrietta Street NW
                                                            Ste 1500
                                                            Atlanta, GA 30303
                                                            404−678−7530
                                                            Email: byron_conway@fd.org
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender or Community
                                                            Defender Appointment

           Pending Counts                                  Disposition
           None

           Highest Offense Level (Opening)
           None

           Terminated Counts                               Disposition
           None

           Highest Offense Level
           (Terminated)
           None

           Complaints                                      Disposition
           18:924(a)(1)(A) − PENALTIES
           FOR FIREARMS


                   Case 6:21-cr-03067-BCW Document 5 Filed 05/27/21 Page 1 of 4
                                                                                                           1
Plaintiff
USA                                             represented by Samir Kaushal
                                                               Office of the United States
                                                               Attorney−ATL600
                                                               Northern District of Georgia
                                                               600 United States Courthouse
                                                               75 Ted Turner Dr., S.W.
                                                               Atlanta, GA 30303
                                                               404−581−6000
                                                               Email: samir.kaushal@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Designation: Retained

 Date Filed      # Page Docket Text
 05/25/2021              Arrest (Rule 40) of David Panbehchi. (tcc) (Entered: 05/26/2021)
 05/25/2021      1       ORDER APPOINTING FEDERAL PUBLIC DEFENDER Byron Conway for
                         David Panbehchi. Signed by Magistrate Judge Alan J. Baverman on 5/25/2021.
                         (tcc) (Entered: 05/26/2021)
 05/25/2021      2       Minute Entry for proceedings held before Magistrate Judge Alan J. Baverman:
                         Initial Appearance in Rule 5(c)(3) Proceedings as to David Panbehchi held on
                         5/25/2021, Defendant waives Preliminary Hearing. Waiver filed. Bond Hearing
                         held. Appearance Bond (Unsecured) set in the amount of $10,000. Bond Filed:
                         Defendant RELEASED. (Tape #FTR) (tcc) (Entered: 05/26/2021)
 05/25/2021      3       WAIVER of Rule 5 Identity Hearings by David Panbehchi. (tcc) (Entered:
                         05/26/2021)
 05/25/2021      4       Appearance Bond (Unsecured) on Rule 5(c)(3) Entered as to David Panbehchi in
                         amount of $ 10,000. (tcc) (Entered: 05/26/2021)
 05/25/2021      5       ORDER Setting Conditions of Release as to David Panbehchi. Signed by
                         Magistrate Judge Alan J. Baverman on 5/25/2021. (tcc) (Entered: 05/26/2021)
 05/25/2021      6       CJA 23 Financial Affidavit by David Panbehchi. (tcc) (Entered: 05/26/2021)
 05/25/2021              Magistrate Case Closed. Defendant David Panbehchi terminated. (tcc) (Entered:
                         05/26/2021)
 05/27/2021              Transmittal of Rule 5(c)(3) Documents as to David Panbehchi, sent to USDC
                         WD MO via InterdistrictTransfer email with certified copy of Bond and docket
                         sheet. (tcc) (Entered: 05/27/2021)




            Case 6:21-cr-03067-BCW Document 5 Filed 05/27/21 Page 2 of 4
                                                                                                         2
Case 1:21-mj-00533-AJB Document 4 Filed 05/25/21 Page 1 of 2




                                                ATTEST: A TRUE COPY
                                                CERTIFIED THIS

                                                        5/27/2021
                                                Date: __________________________

                                                JAMES N. HATTEN, Clerk
                                                     s/Traci C. Campbell
                                                By: ____________________________
                                                         Deputy Clerk




Case 6:21-cr-03067-BCW Document 5 Filed 05/27/21 Page 3 of 4
                                                                                   3
Case 1:21-mj-00533-AJB Document 4 Filed 05/25/21 Page 2 of 2




Case 6:21-cr-03067-BCW Document 5 Filed 05/27/21 Page 4 of 4
                                                               4
